     Case 2:17-cv-06417-GW-AGR Document 28 Filed 09/29/21 Page 1 of 1 Page ID #:2154



 1
 2
 3
 4
 5
 6
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
11     SIRLASIE RAYSHON CURRY,                 )     No. CV 17-6417-GW (AGR)
                                               )
12                          Petitioner,        )
                                               )     ORDER ACCEPTING FINDINGS AND
13         v.                                  )     RECOMMENDATION OF UNITED
                                               )     STATES MAGISTRATE JUDGE
14     SHAWN HATTON, Warden,                   )
                                               )
15                          Respondent.        )
                                               )
16
17              Pursuant to 28 U.S.C. § 636, the Court has reviewed the entire file de novo,
18     including the magistrate judge’s Report and Recommendation. Further, the Court
19     has engaged in a de novo review of those portions of the Report and
20     Recommendation to which objections have been made. The Court accepts the
21     findings and recommendation of the Magistrate Judge.
22              IT IS ORDERED that Judgment be entered denying the Petition for Writ of
23     Habeas Corpus and dismissing this action with prejudice.
24
25     DATED: September 29, 2021
                                                        GEORGE H. WU
26                                                  United States District Judge
27
28
